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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 CURTIS LEVAR WELLS, JR.,

      Plaintiff,

 v.                                             Case No. 1:22-cv-00140-MSN-IDD

 JAVIER FUENTES, et al.,

      Defendants.

      DEFENDANTS’ MOTION FOR LEAVE TO FILE VIDEO WITH AUDIO EXHIBIT

          NOW COME the Defendants, Javier Fuentes, Scott Wanek, Ashley Barnickle, Lauren

 Lugasi, Kimberly Soules, Austin Kline And John Vanak (“Defendant ACPD Officers”), by

 counsel, and move this Court for leave to file a video with audio exhibit in support of their

 Motions to Dismiss for the reasons more fully set out in their Brief in Support of Motion for

 Leave to File Video with Audio Exhibit.



                                                    JAVIER FUENTES, SCOTT WANEK,
                                                    ASHLEY BARNICKLE, LAUREN
                                                    LUGASI, KIMBERLY SOULES,
                                                    AUSTIN KLINE AND JOHN VANAK

                                                    By Counsel
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                                      CERTIFICATE

         I hereby certify that on the 6th day of October, 2022, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
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